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          EXHIBIT 2
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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        January 28, 2022

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       RE:      United States v. Stephen K. Bannon, 21-cr-670 (CJN)

Dear Counsel:

        We write in response to your letter of January 14, 2022, making certain discovery requests.
As we have stated previously, we understand our obligations under Rule 16, the Jencks Act, and
Brady, Giglio, and their progeny. To date, we have provided discovery that exceeds our
obligations.

        We have carefully reviewed all of your requests and the materials in our possession,
custody, and control. As an initial matter, your letter asserts that the U.S. House of Representatives
and the White House are part of the prosecution team in this case. They are not. We have provided
all discoverable materials we have received from those parties and thus have nothing more to
provide in response to requests in which you seek information in their possession.
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       Regarding your remaining requests, either we have already provided you with any
discoverable materials that are in the possession, custody, or control of the prosecution team, or
your requests call for documents and information that are not discoverable.

       Please do not hesitate to contact us with any questions.

                                             Sincerely,

                                             MATTHEW M. GRAVES
                                             United States Attorney

                                     By:     /s/ Amanda R. Vaughn
                                             J.P. Cooney
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